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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 UNITED STATES OF AMERICA                 )
                                          )
       v.                                 )      CASE NO. 2:13-CR-14-WKW
                                          )                [WO]
 CARL RAY ESTES                           )

                                       ORDER

      Defendant has filed a motion for compassionate release in which he seeks to

modify an imposed term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).

(Doc. # 41.)        Defendant was convicted of one count of distribution of child

pornography in violation of 18 U.S.C. § 2252A(a)(2). (Doc. # 33, at 6.) As a result

of his conviction, Defendant was sentenced to a term of 120 months’ imprisonment.

(Doc. # 6, at 2.)

      Upon a thorough review of the record and upon consideration of the 18 U.S.C.

§ 3553(a) factors, the court concludes that Defendant’s motion is due to be denied

for substantially the same reasons set out in the Government’s response. (Doc. #

48.) Accordingly, it is ORDERED that Defendant’s motion for compassionate

release (Doc. # 41) is DENIED.

      DONE this 6th day of November, 2020.

                                                    /s/ W. Keith Watkins
                                              UNITED STATES DISTRICT JUDGE
